        Case
         Case1:22-cv-00339-SPB
              1:22-cv-00339-SPB Document
                                 Document27-1
                                          41 Filed
                                              Filed11/07/22
                                                    11/07/22 Page
                                                              Page15ofof15
                                                                         80




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 PENNSYLVANIA STATE CONFERENCE                  )
 OF THE NAACP, et al.,                          )
                                                ) Civil Action No.: 1:22-cv-00339
                Plaintiffs,                     )
                                                )
           v.                                   ) Judge Susan P. Baxter
                                                )
 LEIGH M. CHAPMAN, et al.,                      )
                                                )
                Defendants.                     )

                         MEMORANDUM IN SUPPORT OF
                  INTERVENOR-DEFENDANTS’ MOTION TO DISMISS

       Intervenor-Defendants support and seek to uphold free and fair elections on behalf of all

Pennsylvanians. Intervenor-Defendants therefore respectfully move the Court to uphold the

General Assembly’s duly enacted laws governing Pennsylvania’s elections and to dismiss

Plaintiffs’ Complaint.1

       The General Assembly has mandated that a voter who uses an absentee or mail-in ballot

“shall . . . fill out, date and sign the declaration” printed on the outer envelope of the ballot. 25

P.S. §§ 3146.6(a), 3150.16(a). Just last week, the Pennsylvania Supreme Court held that the

General Assembly’s date requirement is mandatory and, thus, that election officials may not count

any absentee or mail-in ballot that fails to comply with it. See Order, Ball v. Chapman, No. 102

MM 2022 (Pa. Nov. 1, 2022) (per curiam) (“Ball Order”).

       Plaintiffs’ Complaint is the latest in a series of lawsuits asking courts to erode the General



       1
        Intervenor-Defendants are Individual Voters David Ball, James D. Bee, Debra Biro, Jesse
D. Daniel, Gwendolyn Mae DeLuca, Ross M. Farber, Lynn Marie Kalcevic, Vallerie Sicilano-
Biancaniello, and S. Michael Streib, and the Republican Committees the Republican National
Committee, National Republican Congressional Committee, and Republican Party of
Pennsylvania.
        Case
         Case1:22-cv-00339-SPB
              1:22-cv-00339-SPB Document
                                 Document27-1
                                          41 Filed
                                              Filed11/07/22
                                                    11/07/22 Page
                                                              Page26ofof15
                                                                         80




Assembly’s date requirement. But Plaintiffs’ single count wholly “fail[s] to state a claim upon

which relief can be granted” because the date requirement does not violate the federal materiality

provision, 52 U.S.C. § 10101(a)(2)(B). Indeed, the Pennsylvania Supreme Court’s order upheld

the date requirement under the federal materiality provision, see Ball Order at 1, and three Justices

of the U.S. Supreme Court have already concluded that the notion that the date requirement

violates the federal materiality provision is “very likely wrong,” Ritter v. Migliori, 142 S. Ct. 1824,

1824 (2022) (Mem.) (Alito, J., dissenting from the denial of the application for stay). No other

U.S. Supreme Court Justices addressed the merits in the stay posture of that case.

       These decisions are correct: the plain statutory text and governing case law confirm that

the date requirement does not even implicate the federal materiality provision, let alone violate it.

The federal materiality provision prohibits “deny[ing] the right of an[] individual to vote” as part

of an election official’s determination whether that “individual is qualified under State law to

vote,” 52 U.S.C. § 10101(a)(2)(B)—but application of the date requirement to absentee and mail-

in ballots does not deny anyone the right to vote or determine anyone’s qualifications to vote. The

Court should decline Plaintiffs’ invitation to split from the Pennsylvania Supreme Court and the

opinion of three Justices, dismiss Plaintiffs’ Complaint, and uphold the General Assembly’s

commonsense, constitutional, and lawful date requirement.

                                         BACKGROUND

       Plaintiffs acknowledge that this suit is merely the latest salvo in a long line of attempts to

persuade the courts to undo the General Assembly’s date requirement for absentee and mail-in

ballots. See Compl. ¶¶ 36–56 (Dkt. No. 1). In 2020, a majority of the Pennsylvania Supreme

Court held that the date requirement is mandatory and, thus, that election officials may not count

any noncompliant ballot in any election after the 2020 general election. See In re Canvass of




                                                  2
        Case
         Case1:22-cv-00339-SPB
              1:22-cv-00339-SPB Document
                                 Document27-1
                                          41 Filed
                                              Filed11/07/22
                                                    11/07/22 Page
                                                              Page37ofof15
                                                                         80




Absentee and Mail-In Ballots of November 3, 2020 General Election, 241 A.3d 1058, 1079–80

(2020) (Opinion of Justice Wecht); id. at 1090–91 (Opinion of Justice Dougherty, Chief Justice

Saylor, and Justice Mundy).

       In the first two cases following that ruling, the Pennsylvania Commonwealth Court upheld

mandatory application of the date requirement. The Pennsylvania Supreme Court allowed both

decisions to stand. See In re Election in Region 4 for Downington Sch. Bd. Precinct Uwchlan 1,

272 A.3d 993 (Pa. Commw. 2022) (unpublished), appeal denied, 273 A.3d 508 (Pa. 2022); Ritter

v. Lehigh Cnty. Bd. of Elecs., 272 A.3d 989 (Pa. Commw. 2022) (unpublished), appeal denied,

271 A.3d 1285 (Pa. 2022).

       Four days after the Pennsylvania Supreme Court resolved Ritter, individual voters filed a

new lawsuit in federal court claiming that the date requirement violates the federal materiality

provision, 52 U.S.C. § 10101(a)(2)(B). The Third Circuit agreed, but the U.S. Supreme Court

vacated that decision last month. See Migliori v. Cohen, No. 22-1499 (3d Cir. May 27, 2022),

cert. granted and judgment vacated, Ritter v. Migliori, No. 22-30, 2022 WL 6571686 (U.S. Oct.

11, 2022) (Mem.). And when addressing a request for a stay at an earlier stage in that case, three

Justices opined that the Third Circuit’s now-vacated holding was “very likely wrong” on the merits

because it rested upon a misconstruction of the materiality provision. Ritter, 142 S. Ct. at 1824

(Mem.) (Alito, J., dissenting from the denial of the application for stay). No other Justices

addressed the merits in that stay posture.

       Meanwhile, the Commonwealth Court twice has invoked the now-vacated decision in

Migliori to depart from the General Assembly’s date requirement in unpublished, non-precedential

cases arising out of the 2022 primary election. See McCormick for U.S. Senate v. Chapman, 2022




                                                3
        Case
         Case1:22-cv-00339-SPB
              1:22-cv-00339-SPB Document
                                 Document27-1
                                          41 Filed
                                              Filed11/07/22
                                                    11/07/22 Page
                                                              Page48ofof15
                                                                         80




WL 2900112 (Pa. Commw. June 2, 2022) (unpublished); Chapman v. Berks County Bd. of Elecs.,

2022 WL 4100998 (Pa. Commw. Aug. 19, 2022) (unpublished).

       Finally, just last week, the Pennsylvania Supreme Court held that the date requirement is

mandatory and, thus, that any absentee or mail-in ballot that fails to comply with it is invalid. See

Ball Order. The Pennsylvania Supreme Court therefore ordered county boards of elections “to

refrain from counting any absentee and mail-in ballots received for the November 8, 2022 general

election that are contained in undated or incorrectly dated outer envelopes.” Id. at 1. Its order

noted that “[t]he Court is evenly divided on the issue of whether failing to count such ballots

violates 52 U.S.C. § 10101(a)(2)(B).” Id.

       Thus, as Plaintiffs acknowledge—after seven cases in five courts over two years—the

current state of the law is that the General Assembly’s date requirement is mandatory and that any

noncompliant absentee or mail-in ballot may not be counted in the 2022 general election and

beyond. See Compl. ¶¶ 36–56; see also Purcell v. Gonzalez, 549 U.S. 1, 4–5 (2006) (federal courts

may not order changes to state election laws on the eve of an election). Plaintiffs now ask the

Court to split from the Pennsylvania Supreme Court and to invalidate the date requirement duly

enacted by the General Assembly and upheld after two years of litigation. See Compl. ¶¶ 59–64.

                                      LEGAL STANDARD

       Federal Rule of Civil Procedure 12(b)(6) requires dismissal of a complaint that “fail[s] to

state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). The purpose of a Rule

12(b)(6) motion is to test the legal sufficiency of the complaint. See, e.g., Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 556 (2007). Accordingly, federal courts “disregard[] allegations in the

complaint that are legal conclusions,” Lutz v. Portfolio Recovery Assocs., LLC, 49 F.4th 323, 330

(3d Cir. 2022), and must grant motions to dismiss under Rule 12(b)(6) where the complaint fails




                                                 4
        Case
         Case1:22-cv-00339-SPB
              1:22-cv-00339-SPB Document
                                 Document27-1
                                          41 Filed
                                              Filed11/07/22
                                                    11/07/22 Page
                                                              Page59ofof15
                                                                         80




to “raise a right to relief above the speculative level,” including because it asserts a legally deficient

theory of liability, Twombly, 550 U.S. at 555.

                                            ARGUMENT

        “States may, and inevitably must, enact reasonable regulations of parties, elections, and

ballots to reduce election- and campaign-related disorder.” Timmons v. Twin Cty. Area New Party,

520 U.S. 351, 358 (1997). “[A]s a practical matter, there must be a substantial regulation of

elections if they are to be fair and honest and if some sort of order, rather than chaos, is to

accompany the democratic processes.” Anderson v. Celebrezze, 460 U.S. 780, 788 (1983) (quoting

Storer v. Brown, 415 U.S. 724, 730 (1974)); see also Brnovich v. Democratic Nat’l Comm., 141

S. Ct. 2321, 2347–48 (2021) (because voter “[f]raud is a real risk,” a state may act prophylactically

to prevent fraud “without waiting for it to occur and be detected within its own borders”).

        The General Assembly has prescribed such a regulation through its mandatory date

requirement for absentee and mail-in ballots. See 25 P.S. §§ 3146.6(a), 3150.16(a); Ball Order.

As Justices of the Pennsylvania Supreme Court has affirmed, the date requirement serves an

“unquestionable purpose.” In re Canvass of Absentee and Mail-In Ballots of November 3, 2020

General Election, 241 A.3d at 1090 (Opinion of Justice Dougherty, Chief Justice Saylor, and

Justice Mundy) (citing then-Judge Brobson’s “observ[ations] below”). The date “provides proof

of when the elector actually executed the ballot in full, ensuring their desire to cast it in lieu of

appearing in person at the polling place.” Id. It “establishes a point in time against which to

measure the elector’s eligibility to cast the ballot.” Id. And it “ensures the elector completed the

ballot within the proper time frame and prevents tabulation of potentially fraudulent back-dated

votes.” Id. at 1091; see also id. at 1087 (Opinion of Justice Wecht) (noting that “colorable

arguments also suggest [the] importance” of the date requirement).




                                                    5
       Case
        Case1:22-cv-00339-SPB
              1:22-cv-00339-SPB Document
                                 Document27-1
                                          41 Filed
                                              Filed 11/07/22
                                                    11/07/22 Page
                                                             Page 610ofof1580




       These are no mere theoretical interests. Earlier this year, officials in Lancaster County

discovered that an individual had cast a fraudulent ballot in her deceased mother’s name. At least

one piece of crucial evidence was the fact that the date provided on the outer envelope was April

26, 2022, twelve days after the mother had passed away. See Affidavit of Probable Cause ¶ 2,

Police Criminal Complaint, Com. v. Mihaliak, No. CR-126-22 (June 3, 2002) (Ex. A).

       In all events, Plaintiffs’ contention that the date requirement violates the federal materiality

provision contravenes the provision’s plain statutory text and governing law—resting instead on a

misreading of federal law that would invalidate a broad swath of duly enacted state election rules.

The Court should dismiss the Complaint and uphold the General Assembly’s date requirement and

its authority to enact commonsense laws governing Pennsylvania’s elections.

I.     MANDATORY APPLICATION OF THE DATE REQUIREMENT DOES NOT
       VIOLATE THE FEDERAL MATERIALITY PROVISION
       Plaintiffs acknowledge that three Justices of the U.S. Supreme Court dissented from denial

of the stay in Migliori, but they do not recount the basis for that dissent. See Compl. ¶ 47. Those

Justices concluded that the Third Circuit panel’s view that mandatory application of the date

requirement violates the federal materiality provision is “very likely wrong.” Ritter, 142 S. Ct. at

1824 (Mem.) (Alito, J., dissenting from the denial of the application for stay). The plain statutory

text and governing law confirm that the General Assembly’s date requirement does not even

implicate, let alone violate, 52 U.S.C. § 10101(a)(2)(B). The Court should dismiss the Complaint.

        A.     Application Of The Date Requirement Does Not Deny Anyone The Right To
               Vote Or Determine Anyone’s Qualifications To Vote

       The materiality provision states:

       No person acting under color of law shall … deny the right of any individual to
       vote in any election because of an error or omission on any record or paper relating
       to any application, registration, or other act requisite to voting, if such error or
       omission is not material in determining whether such individual is qualified under
       State law to vote in such election.


                                                  6
       Case
        Case1:22-cv-00339-SPB
              1:22-cv-00339-SPB Document
                                 Document27-1
                                          41 Filed
                                              Filed 11/07/22
                                                    11/07/22 Page
                                                             Page 711ofof1580




52 U.S.C. § 10101(a)(2)(B).

        Application of the General Assembly’s date requirement to preclude counting of undated

or incorrectly dated absentee or mail-in ballots does not violate this provision for at least three

reasons. First, the materiality provision prohibits only “deny[ing] the right of any individual to

vote,” not imposing mandatory rules on the act of completing and casting a ballot. Id. The

materiality provision therefore has no application to the date requirement because “[w]hen a mail-

in ballot is not counted because it was not filled out correctly, the voter is not denied ‘the right to

vote.’” Ritter, 142 S. Ct. at 1825 (Mem.) (Alito, J., dissenting from the denial of the application

for stay) (quoting 52 U.S.C. § 10101(a)(2)(B)). Rather, “that individual’s vote is not counted

because he or she did not follow the rules for casting a ballot.” Id.

        An individual “may be unable to cast a vote for any number of reasons,” such as showing

up to the polls after Election Day, failing to sign or to use a secrecy envelope for an absentee or

mail-in ballot, attempting to vote for too many candidates for a single office, returning the ballot

to the wrong location, or arriving at the wrong polling place. See id. Application of these rules

does not deny the right to vote; nor does application of the date requirement. See id. at 1825

(“Even the most permissive voting rules must contain some requirements, and the failure to follow

those rules constitutes the forfeiture of the right to vote, not the denial of that right.”); id. (“[I]t

would be absurd to judge the validity of voting rules based on whether they are material to

eligibility.”); see also Rosario v. Rockefeller, 410 U.S. 752, 757 (1973) (application of neutral

state-law voting requirement does not “disenfranchise” voters); Timmons, 520 U.S. at 358 (“States

may, and inevitably must, enact reasonable regulations” for effectuating votes); Brnovich, 141 S.

Ct. at 2338 (“Casting a vote, whether by following the directions for using a voting machine or

completing a paper ballot, requires compliance with certain rules.”); DNC v. Wisconsin State Leg.,



                                                   7
       Case
        Case1:22-cv-00339-SPB
              1:22-cv-00339-SPB Document
                                 Document27-1
                                          41 Filed
                                              Filed 11/07/22
                                                    11/07/22 Page
                                                             Page 812ofof1580




141 S. Ct. 28, 35 (Mem.) (Oct. 26, 2020) (Kavanaugh, J., concurring) (“In other words, reasonable

election deadlines do not ‘disenfranchise’ anyone under any legitimate understanding of that

term.”). As the Fifth Circuit has reasoned in a precedential, non-vacated decision, “[i]t cannot be

that any requirement that may prohibit an individual from voting if the individual fails to comply

denies the right of that individual to vote under” the federal materiality provision. Vote.Org v.

Callanen, 39 F.4th 297, 305 n.6 (5th Cir. 2022).

       Second, the materiality provision requires that the error or omission affect a

“determin[ation] whether such individual is qualified under State law to vote.” 52 U.S.C.

§ 10101(a)(2)(B). It therefore regulates requirements and practices related to qualifications and

registration to vote, not rules like the date requirement “that must be met in order to cast a ballot

that will be counted.” Ritter, 142 S. Ct. at 1825 (Mem.) (Alito, J., dissenting from the denial of

the application for stay); see also Vote.Org, 39 F.4th at 305 n.6.

       Congress enacted the materiality statute and the broader § 10101 of which it is part “to

enforce th[e] [Fifteenth] Amendment[,]” United States v. Mississippi, 380 U.S. 128, 138 (1965),

which guarantees that “[t]he right of citizens of the United States to vote shall not be denied or

abridged by the United States or by any State on account of race, color, or previous condition of

servitude,” U.S. Const. amend. XV, § 1. Congress’s purpose in enacting the materiality statute

was to “forbid[] the practice of disqualifying voters for their failure to provide information

irrelevant to their eligibility to vote.” Schwier v. Cox, 340 F.3d 1284, 1294 (11th Cir. 2003)

(emphasis added). In particular, Congress addressed “the practice of requiring unnecessary

information for voter registration”—such as listing the registrant’s “exact number of months and

days in his age”—“with the intent that such requirements would increase the number of errors or

omissions on the application forms, thus providing an excuse to disqualify potential voters.” Id.




                                                   8
       Case
        Case1:22-cv-00339-SPB
              1:22-cv-00339-SPB Document
                                 Document27-1
                                          41 Filed
                                              Filed 11/07/22
                                                    11/07/22 Page
                                                             Page 913ofof1580




In other words, “[s]uch trivial information served no purpose other than as a means of inducing

voter-generated errors that could be used to justify rejecting applicants.” Fla. State Conf. of

NAACP v. Browning, 522 F.3d 1153, 1173 (11th Cir. 2008) (emphasis added); see also H. Rep.

No. 88-914, pt. 2, at 5 (1963) (“[R]egistrars [would] overlook minor misspelling errors or mistakes

in age or length of residence of white applicants, while rejecting” an application from an African-

American applicant “for the same or more trivial reasons.”).

       The federal materiality statute thus functions as a safeguard against discriminatory

application of state voter qualification and registration rules. See Mississippi, 380 U.S. at 138;

Schwier, 340 F.3d at 1294; Browning, 522 F.3d at 1173; see also H. Rep. No. 88-914, pt. 1, at 19

(recognizing that Title I of the Civil Rights Act, now codified in § 10101, was part of an effort “by

which the Congress took steps to guarantee to all citizens the right to vote without discrimination

as to race or color”). The two other subsections of § 10101(a)(2) further underscore this point:

those subsections require election officials to apply uniform “standard[s], practice[s], [and]

procedure[s] . . . in determining whether any individual is qualified to vote under state law,” 52

U.S.C. § 10101(a)(2)(A), and restrict the use of literacy tests “as a qualification for voting in any

election,” id. § 10101(a)(2)(C).

       Here, the date on the absentee or mail-in ballot declaration is not used to determine an

individual’s qualifications to vote, but rather the validity of a ballot. Ritter, 142 S. Ct. at 1825

(Mem.) (Alito, J., dissenting from the denial of the application for stay); see also Vote.Org, 39

F.4th at 305 n.6. Indeed, mandatory application of the date requirement results in invalidation of

a noncompliant ballot, not a “determin[ation]” that the individual is or is not “qualified under State

law to vote.” 52 U.S.C. § 10101(a)(2)(B). In other words, mandatory application of the date

requirement results in a ballot not being counted, not in an individual being removed from, or




                                                  9
       Case
        Case1:22-cv-00339-SPB
             1:22-cv-00339-SPB Document
                                Document27-1
                                         41 Filed
                                             Filed11/07/22
                                                   11/07/22 Page
                                                             Page10
                                                                  14ofof15
                                                                         80




prevented from joining, the list of registered voters. Compare, e.g., Schwier, 340 F.3d at 1294;

Browning, 522 F.3d at 1173; H. Rep. No. 88-914, pt. 2, at 5; see also Ritter, 142 S. Ct. at 1825

(Mem.) (Alito, J., dissenting from the denial of the application for stay); Vote.Org, 39 F.4th at 305

n.6. Because mandatory application of the date requirement does not result in a qualification

determination, it is outside the plain terms and narrow scope of, and does not violate, the federal

materiality provision. See Ritter, 142 S. Ct. at 1825 (Mem.) (Alito, J., dissenting from the denial

of the application for stay); see also Vote.Org, 39 F.4th at 305 n.6; Schwier, 340 F.3d at 1294;

Browning, 522 F.3d at 1173.

        Third, the materiality provision demands that the “record or paper” be related to an

“application, registration, or other act requisite to voting.” 52 U.S.C. § 10101(a)(2)(B). To be

sure, an absentee or mail-in ballot and accompanying declaration is a “record or paper.” Id. But

casting a ballot—which, under Pennsylvania law, requires completing the declaration, see 25 P.S.

§§ 3146.6(a), 3150.16(a)—constitutes the act of voting, not an application, registration, or other

act requisite to voting. Ritter, 142 S. Ct. at 1826 n.2 (Mem.) (Alito, J., dissenting from the denial

of the application for stay). It therefore would be an “awkward” statutory construction at best to

extend the materiality provision to absentee and mail-in ballots and the date requirement. Id.

Voting is voting; it is not an act requisite to voting.

        B.      There Is No Tenable Basis To Conclude That Mandatory Application Of The
                Date Requirement Violates The Federal Materiality Provision

        In their Complaint, Plaintiffs offer two main arguments in support of their claim that the

date requirement violates the federal materiality provision. Both are not only unpersuasive but

also, in fact, demonstrate that the Court should decline Plaintiffs’ invitation to create a split of

authority with the Pennsylvania Supreme Court on the date requirement’s validity.




                                                   10
       Case
        Case1:22-cv-00339-SPB
             1:22-cv-00339-SPB Document
                                Document27-1
                                         41 Filed
                                             Filed11/07/22
                                                   11/07/22 Page
                                                             Page11
                                                                  15ofof15
                                                                         80




       First, the entire thrust of Plaintiffs’ Complaint is that “[a] voter’s failure to handwrite the

date next to their signature on the ballot return envelope is not material to determining their

qualification to vote,” Compl. ¶ 62, which in Pennsylvania requires being at least 18 years of age

on the date of the election; having been a citizen of Pennsylvania for at least one month; having

lived in the relevant election district for at least 30 days; and not being imprisoned for a felony,

see 25 P.S. § 1301; see also Compl. ¶ 61. Plaintiffs are entirely correct that compliance with the

date requirement is not material to any individual’s qualifications to vote. But that point disproves

Plaintiffs’ case. As explained above, the date requirement is not used to determine whether an

individual is “qualified under State law to vote,” 52 U.S.C. § 10101(a)(2)(B), so it does not

implicate, let alone violate, the federal materiality provision, see Ritter, 142 S. Ct. at 1825 (Mem.)

(Alito, J., dissenting from the denial of the application for stay); see also Vote.Org, 39 F.4th at 305

n.6; Schwier, 340 F.3d at 1294; Browning, 522 F.3d at 1173.

       In fact, Plaintiffs’ proposed reading of the federal materiality provision is breathtakingly

broad—and, unsurprisingly, incorrect. Under Plaintiffs’ reading, states could enact no mandatory

rules against “errors or omissions” on any voting “record[s] or paper[s]” except those that merely

implement the “material” requirements for “determining whether [an] individual is qualified under

State law to vote.” Compl. ¶ 60. In other words, under Plaintiffs’ construction of the federal

materiality provision, states could not adopt any requirements for completing ballots or ballot-

return envelopes that do not confirm the individual’s qualifications to vote.

       Take, for example, the General Assembly’s requirement that a voter sign an absentee or

mail-in ballot return envelope, which appears in the very same statutory sentence as the date

requirement. See 25 P.S. §§ 3146.6(a), 3150.16(a) (voter “shall . . . fill out, date and sign the

declaration” printed on the outer envelope of the ballot); see also Ritter, 142 S. Ct. at 1826 n.2




                                                  11
       Case
        Case1:22-cv-00339-SPB
             1:22-cv-00339-SPB Document
                                Document27-1
                                         41 Filed
                                             Filed11/07/22
                                                   11/07/22 Page
                                                             Page12
                                                                  16ofof15
                                                                         80




(Mem.) (Alito, J., dissenting from the denial of the application for stay) (discussing signature

requirement).   Before the Pennsylvania Supreme Court just last month, Defendant Acting

Secretary Chapman agreed that the signature requirement is valid and mandatory and does not

violate the federal materiality provision. See Acting Sec’y Ans. 15–23, Ball v. Chapman, No. 102

MM 2022 (Oct. 19, 2022) (“Acting Sec’y Ans.”) (Ex. B). But under Plaintiffs’ proposed reading,

the signature requirement would violate the federal materiality provision: a failure to provide a

signature is an “omission” or “an error” on a “record or paper,” and the signature requirement is

“immaterial to whether the voter is qualified under State law to vote in [the] election.” Compl.

¶ 60 (internal quotation marks omitted).

       Take, as another example, the secrecy-envelope requirement contained in the same

statutory section as the date requirement. See 25 P.S. §§ 3146.6(a), 3150.16(a) (voter “shall . . .

enclose and securely seal” the ballot in a secrecy envelope). The Pennsylvania Supreme Court has

upheld that requirement as mandatory, see Pa. Dem. Party v. Boockvar, 238 A.3d 345, 379–80

(Pa. 2020), and the Acting Secretary conceded last month that it does not violate the federal

materiality provision, see Acting Sec’y Ans. 39 n.15. But it would on Plaintiffs’ proposed reading:

a failure to use a secrecy envelope is an “omission” or “an error” involving a “record or paper,”

and the signature requirement is “immaterial to whether the voter is qualified under State law to

vote in [the] election.” Compl. ¶ 60 (internal quotation marks omitted).

       If another example were somehow needed, consider also the General Assembly’s

commonplace prohibition on “mark[ing] [a] ballot for more persons for any office than there are

candidates to be voted for for such office.” 25 P.S. § 3063(a). Under the Election Code, any such

overvotes are invalid, and the ballot “shall not be counted for such office.” Id. Under Plaintiffs’

proposed construction of federal law, the overvote prohibition would violate the materiality




                                                12
       Case
        Case1:22-cv-00339-SPB
             1:22-cv-00339-SPB Document
                                Document27-1
                                         41 Filed
                                             Filed11/07/22
                                                   11/07/22 Page
                                                             Page13
                                                                  17ofof15
                                                                         80




provision: mismarking a ballot is an “omission” or “an error” involving a “record or paper,” and

the overvote prohibition is “immaterial to whether the voter is qualified under State law to vote in

[the] election.” Compl. ¶ 60.

       Thus, Plaintiffs’ reading of federal law “would subject virtually every electoral regulation”

related to voting records and papers to the superintendence of the federal materiality provision,

“hamper the ability of States to run efficient and equitable elections, and compel federal courts to

rewrite state electoral codes.” Clingman v. Beaver, 544 U.S. 581, 593 (2005). Indeed, if Plaintiffs’

construction were correct, numerous state election rules—such as the General Assembly’s

signature and secrecy-envelope requirements and overvote prohibition—have been invalid for

nearly sixty years, since Congress enacted the federal materiality provision in 1964. But, of course,

Plaintiffs’ construction is not correct: states can and do enact a wide range of laws that regulate

how voting is conducted and prohibit omissions and errors on voting records or papers without

running afoul of the federal materiality provision. That is because application of those laws—like

mandatory application of the General Assembly’s date requirement—does not “deny the right of

any individual to vote” or result in a determination whether that individual “is qualified under State

law to vote.” 52 U.S.C. § 10101(a)(2)(B); see also supra Part I.A.

       Second, Plaintiffs cite to the Third Circuit panel’s vacated opinion in Migliori as

“persuasive” authority. Compl. ¶ 47. But “of necessity [the Supreme Court’s] decision vacating

the judgment of the [Third Circuit] deprives that court’s opinion of precedential effect.” County

of Los Angeles v. Davis, 440 U.S. 625, 634 n.6 (1979) (addressing consequences of Munsingwear

vacatur); see also Polychrome Int’l Corp. v. Krigger, 5 F.3d 1522, 1534 n.30 (3d Cir. 1993) (court

is not “bound” by holding in a vacated opinion) (cited at Compl. ¶ 47). Munsingwear vacatur “is

commonly utilized … to prevent a judgment, unreviewable because of mootness, from spawning




                                                 13
       Case
        Case1:22-cv-00339-SPB
             1:22-cv-00339-SPB Document
                                Document27-1
                                         41 Filed
                                             Filed11/07/22
                                                   11/07/22 Page
                                                             Page14
                                                                  18ofof15
                                                                         80




any legal consequences.” United States v. Munsingwear, Inc., 340 U.S. 36, 41 (1950). The Third

Circuit’s decision becoming moot prevented its review by the Supreme Court, and the subsequent

vacatur “eliminate[d] [the] judgment, review of which was prevented through happenstance.” Id.

at 40. The Court should not rely on the Third Circuit’s untested—and accordingly erased—

analysis. Moreover, for the reasons explained above, that opinion was wrongly decided. See supra

Part I.A.

       Nor should the Court follow the two Commonwealth Court decisions from earlier this year

holding that the date requirement violates the federal materiality provision. See Compl. ¶¶ 48–49

(discussing McCormick and Chapman). Those decisions relied upon the now-vacated Migliori

decision, have been superseded by the Pennsylvania Supreme Court’s holding in Ball last week,

and, in all events, were incorrect. See McCormick, 2022 WL 2900112; Chapman, 2022 WL

4100998; Ball Order at 1; supra Part I.A.

                                        CONCLUSION

       The Court should dismiss Plaintiffs’ Complaint.




                                               14
      Case
       Case1:22-cv-00339-SPB
            1:22-cv-00339-SPB Document
                               Document27-1
                                        41 Filed
                                            Filed11/07/22
                                                  11/07/22 Page
                                                            Page15
                                                                 19ofof15
                                                                        80




Dated: November 7, 2022                    Respectfully submitted,

                                           /s/ Kathleen A. Gallagher
                                           Kathleen A. Gallagher
                                           PA I.D. #37950
                                           Russell D. Giancola
                                           PA. I.D. #200058
                                           GALLAGHER GIANCOLA LLC
                                           436 Seventh Avenue, 31st Floor
                                           Pittsburgh, PA 15219
                                           Phone: (412) 717-1900
                                           kag@glawfirm.com
                                           rdg@glawfirm.com

                                           John M. Gore *
                                           E. Stewart Crosland
                                           JONES DAY
                                           51 Louisiana Avenue, N.W.
                                           Washington, D.C. 20001
                                           Phone: (202) 879-3939
                                           jmgore@jonesday.com
                                           scrosland@jonesday.com

                                           Thomas W. King, III
                                           Thomas E. Breth
                                           DILLON, McCANDLESS, KING,
                                            COULTER & GRAHAM, LLP
                                           128 W. Cunningham St.
                                           Butler, PA 16001
                                           Phone: (724) 283.2200
                                           tking@dmkcg.com
                                           tbreth@dmkcg.com

                                           Counsel for Petitioners

                                           * Pro hac vice application forthcoming




                                      15
